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                      IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE

MICHAEL MCKENZIE, individually and
doing business as AMERICAN IMAGE ART,
an unincorporated dba,

      Plaintiff,
                                                    CIVIL NO. 2:20-cv-00262-NT
      v.

JAMES W. BRANNAN, as personal
representative of THE ESTATE OF ROBERT
INDIANA, and AARON M. FREY, only in his
official capacity as Attorney General of the
State of Maine,

       Defendants.

PLAINTIFF’S SUPPLEMENTAL RESPONSE TO MOTION IN LIMINE (ECF 120)
                     OF DEFENDANT BRANNAN ON BEHALF OF
                        THE ESTATE OF ROBERT INDIANA

       Plaintiff Michael McKenzie seeks the Court’s consideration of this amended response as

to the motion in limine (ECF 120) filed by Defendant James Brannan as personal representative

of the Estate of Robert Indiana (herein the “Estate”) as to excluding evidence of comments made

by the mediator in the Portland, Maine 2019 Mediation.

       In our response (ECF 125, p. 8), we stated

       McKenzie agrees with the Estate that these Mediator statements made during the
       mediation are hearsay if offered for the truth of the matters asserted. We also admit that
       such statements are irrelevant if offered for the fact that they were said by him. McKenzie
       does not intend to offer any of the statements he made during the mediation.

       We now supplement in light of review of the designations of deposition testimony that

the Estate has served on the parties and intends to offer of Osvaldo Gonzalez, who attended the

mediation with McKenzie. The Estate designated questioning of Mr. Gonzalez about the Binding

Term Sheet in a deposition taken in the Morgan Art Foundation v. McKenzie case pending in the


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Southern District of New York and their designation during one line of questioning cuts off right

before a question posed to Mr. Gonzalez as whether the mediator advised the parties the Term

Sheet would be binding. Subject to objections to the offering of the Gonzalez deposition

testimony generally, if the deposition testimony of Gonzalez is permitted, McKenzie should be

permitted to offer statements of the mediator, not for the truth of the matter asserted but for their

impact on the state of mind of the mediation participants. See, Rule 801(c)(2); Compare, e.g.,

Gomez v. Rivera Rodriguez, 344 F.3d 103, 115 (1st Cir. 2003) (“While his testimony was not

admissible for the purpose of proving what obligations the law imposed upon the Mayor, it was

admissible to show the Mayor's understanding at the time and his ensuing state of mind”); Diaz

v. City of Somerville, No. CV 19-11361-JCB, 2022 WL 328607, at *2 (D. Mass. Feb. 3, 2022)

(proper for court to consider evidence “not for the truth of the matters asserted but as evidence of

the state of mind of the relevant decision makers”)

       This is highly relevant to the issue before the Court of the parties’ intent – as shown by

the Estate’s own Trial Brief (ECF 110, pp. 10-12) repeatedly raising the issue of the intent of the

parties in entering the Binding Term Sheet.


Dated: July 15, 2022                           Respectfully submitted,
                                               /s/ John J.E. Markham, II
                                               John J.E. Markham, II (Maine BBO No. 2674)
                                               /s/ Bridget A. Zerner
                                               Bridget A. Zerner (Pro Hac Vice – MA 669468)
                                               MARKHAM & READ
                                               One Commercial Wharf West
                                               Boston, Massachusetts 02110
                                               Tel: (617) 523-6329
                                               Fax: (617)742-8604
                                               jmarkham@markhamread.com
                                               bzerner@markhamread.com

                                               -and-



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                                             908 Maine Street
                                             Waldoboro, Maine 04572
                                             Tel: (207) 790-8049


                                CERTIFICATE OF SERVICE

       I, John J.E. Markham, II, do hereby certify that on July 15, 2022, I served a copy of the
foregoing on all counsel of record via the CM/ECF filing system.


                                             /s/ Bridget Zerner
                                             Bridget A. Zerner




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